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                                             ORDERED.


      Dated: April 30, 2018




                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION
                                        www.flmb.uscourts.gov

In re :                                                               Case Number 6: 18-bk-00409-KSJ
                                                                      Chapter 7

Alan J. Malatesta,
                             Debtor(s).
______________________________________/

              AGREED ORDER GRANTING U.S. BANK NATIONAL ASSOCIATION’S
                   MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          THIS CASE came on for consideration upon U.S. Bank National Association’s Motion for Relief
from the Automatic Stay (docket no. 8) and Trustee’s Response to U.S. Bank National Association’s
Motion for Relief from the Automatic Stay (docket no. 14). Having reviewed the Motion, the Response,
the file, and otherwise being advised of the matter,
          Accordingly, it is
          ORDERED :
    1. The Motion is granted.
    2. The automatic stay arising by reason of 11 U.S.C. §362 is terminated as to Movant’s interest in the
          following real property :
          Lot 17, Block 8, AMENDED PLAT OF CARLETON TERRACE, according to the plat
          thereof as recorded in Plat Book 3, Page 61, of the Public Records of Brevard County, Florida.

          a/k/a 2501 Mac Farland Dr., Cocoa, FL 32922
          Parcel ID No. 24-36-17-53-8-17
    3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Movant, its
          successors and/or assigns to complete in rem relief to take any and all steps necessary to exercise
          any and all rights it may have in the collateral, to gain possession of said collateral, to have such
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        other and further in rem relief as is just, and that Movant, its successors and/or assigns shall not
        obtain in personam relief against the debtor.
    4. The Movant may not schedule a foreclosure sale date until one hundred twenty (120) days from the
        signing of this Order.



                /s/ Kristen L. Henkel                             /s/ Leslie Rushing
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Special Counsel Kristen L. Henkel is directed to serve a copy of this Order on interested parties and file a
proof of services within 3 days of entry of the Order.
